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Name and address:

                        Precious S. Jacobs-Perry
                           Jenner & Block LLP
               353 N. Clark Street, Chicago, IL 60654-3456



                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
Richard Jackson, Julie Briggs and Gregg Buchwalter, individually
                                                                          CASE NUMBER
and on behalf of all others similarly situated
                                                      Plaintiff(s),                            22-cv-09438 AB (MAA)

                   V.

Twitter, Inc., Google LLC, Alphabet, Inc., Meta Platforms, Inc., et          APPLICATION OF NON-RESIDENT ATTORNEY
al.                                                                                TO APPEAR IN A SPECIFIC CASE
                                                     Defendant(s),                        PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500fee online at the time offiling (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time offiling will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Jacobs-Perry, Precious S.
Applicant's Name (Last Name, First Name & Middle Initial)                                        check here iffederal government attorney □
Jenner & Block LLP
Firm/Agency Name
353 N. Clark Street                                                   312 840 8615_____________              312 840 8715_____________
                                                                      Telephone Number                       Fax Number
Street Address
Chicago, IL 60654-3456                                                                     pjacobs-perry@jenner.com
City, State, Zip Code                                                                              E-mail Address

I have been retained to represent the following parties:
Apple, Inc.                                                           | | Plaintiff(s) |x~| Defendant(s) | | Other:
                                                                      Q] Plaintiffs) Q Defendant(s) Q Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                    Name of Court                        Date of Admission         Active Member in Good Standing? (if not, please explain)
Illinois                                                     11/05/2009          Yes




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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                     Title ofAction                             Date ofApplication        Granted / Denied?




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1)          All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3)          I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated 1/30/2023                                        Precious S. Jacobs-Perry
                                                                      Applicant's Name (please type or print)


                                                                      Applicant's Signature


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    Case 2:22-cv-09438-AB-MAA Document 8 Filed 02/01/23 Page 3 of 4 Page ID #:166



SECTION HI - DESIGNATION OF LOCAL COUNSEL
 Singer, David R.
 Designee's Name (Last Name, First Name & Middle Initial)
 Jenner & Block LLP
 Firm/Agency Name

 515 S. Flower Street                                              213-239-5100                              213-239-5199

 Suite 3300                                                        Telephone Number                          Fax Number

 Street Address                                                    dsinger@jenner.com

 Los Angeles, CA 90071                                             Email Address

 City, State, Zip Code                                             204699
                                                                   Designee's California State Bar Number


I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated     £ /l                                      David R. Singer
                                                                   Designee's Na      lease type or print)


                                                                  Designer's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)




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